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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

JELENA LIU,                                   )
                                              )
              Plaintiff,                      )
                                              )
              v.                              )         No. 1:25-cv-716-JPH-TAB
                                              )
KRISTI NOEM, et al.,                          )
                                              )
              Defendants.                     )

      Plaintiff’s Unopposed Motion to Withdraw Preliminary Injunction Motion

       Plaintiff, by her counsel, says that:

1.     On April 21, 2025, she filed her Motion for Preliminary Injunction. (Dkt. 27).

2.     She desires to withdraw the preliminary injunction motion.

3.     Shelese Woods, attorney for defendants, has been consulted and has no objection

to the withdrawal of the motion.

       WHEREFORE, plaintiff moves to withdraw her motion for preliminary injunction

(Dkt. 27), and for all other proper relief.



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